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     Federal Defender
2    MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     JOSE MEDRANO
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )      Cr.S. 11-134-JAM
12                                )
                  Plaintiff,      )              AMENDED
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: July 10, 2012
     JUAN LOPEZ ALVARADO et al, )        Time: 9:45 a.m.
15                                )      JUDGE: Hon. John A. Mendez
                  Defendants.     )
16                                )
     ____________________________ )
17
18       It is hereby stipulated and agreed to between the United States of
19   America through, MICHAEL BECKWITH, Assistant U.S. Attorney, defendant,
20   JOSE MEDRANO by and through his counsel, MATTHEW M. SCOBLE, Assistant
21   Federal Defender, DANNY BRACE JR., attorney for ESTANISLAO GARCIA,
22   MICHAEL CHASTAIN, attorney for EDWARD TULYSEWSKI, and JOHN MANNING,
23   attorney for FRED PINEDA, that the status conference set for Tuesday,
24   June 5, 2012, be continued to Tuesday, July 10, 2012, at 9:45 a.m.
25       The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28       The parties agree that the requested continuance is necessary to
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1    provide defense counsel reasonable time necessary for effective
2    preparation, taking into account the exercise of due diligence.       The
3    parties agree that the ends of justice to be served by a continuance
4    outweigh the best interests of the public and the defendants in a
5    speedy trial, and they ask the Court to exclude time within which the
6    trial of this matter must be commenced under the Speedy Trial Act from
7    the date of this stipulation, May 30, 2012, through July 10, 2012,
8    pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4,
9    pertaining to reasonable time for defense preparation.
10
11   Dated: May 30, 2012                Respectfully submitted,
12                                      DANIEL J. BRODERICK
                                        Federal Defender
13
14                                      /s/ Matthew M. Scoble
                                        MATTHEW M. SCOBLE
15                                      Assistant Federal Defender
                                        Attorney for JOSE MEDRANO
16
17                                      /s/ Matthew M. Scoble for
                                        DANNY BRACE JR.
18                                      Attorney for ESTANISLAO GARCIA

19
                                        /s/ Matthew M. Scoble for
20                                      MICHAEL CHASTAIN
                                        Attorney for EDWARD TULYSEWSKI
21
22                                      /s/ Matthew M. Scoble for
                                        JOHN MANNING
23                                      Attorney for FRED PINEDA

24
25   Dated: May 30, 2012                BENJAMIN B. WAGNER
                                        United States Attorney
26
                                        /s/ Matthew M. Scoble for
27                                      MICHAEL BECKWITH
                                        Assistant U.S. Attorney
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                                       O R D E R
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4        The Court having received, read, and considered the stipulation of

5    the parties and good cause appearing therefrom, the Court adopts the

6    parties' stipulation as its order in its entirety.         It is ordered that

7    the status conference presently set for June 5, 2012, be continued to

8    July 10, 2012, at 9:45 a.m.     The Court hereby finds that the requested

9    continuance is necessary to provide defense counsel reasonable time

10   necessary for effective preparation, taking into account the exercise

11   of due diligence.   The Court finds the ends of justice to be served by

12   granting a continuance outweigh the best interests of the public and

13   the defendants in a speedy trial.

14       It is ordered that time from the date of the parties’ stipulation,

15   May 30, 2012, up to and including, the July 10, 2012, status conference

16   shall be excluded from computation of time within which the trial of

17   this matter must be commenced under the Speedy Trial Act pursuant to 18

18   U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense

19   counsel reasonable time to prepare).

20       IT IS SO ORDERED.

21   Dated: 5/30/2012
                                        /s/ John A. Mendez
22                                      HON. JOHN A. MENDEZ
                                        United States District Court Judge
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